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UNITED STATES OF AMERICA § David L Gradiey, Clerk of Court

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V. § CR. NO. H-18-
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§

18CR176

BABAJIDE TOLULOPE BABATUNDE

INDICTMENT
THE GRAND JURY CHARGES:

COUNT 1
(FALSE USE OF A PASSPORT - 18 U.S.C. §1543)

On or about November 3, 2015, in the Houston Division of the Southern District of

Texas,

BABAJIDE TOLULOPE BABATUNDE,

Defendant herein, did then and there willfully and knowingly use and attempt to use a
forged and/or counterfeit passport purported to be issued by the Republic of Ireland in the
name of Jobi Johnson, to open an account at Capital One Bank, and the defendant knew
said passport was forged, counterfeit and otherwise procured unlawfully.

In violation of Title 18, United States Code, Sections 1543 and 2.

COUNT 2
(FALSE USE OF A PASSPORT - 18 U.S.C. §1543)

On or about November 4, 2015, in the Houston Division of the Southern District of

Texas,

BABAJIDE TOLULOPE BABATUNDE,

Defendant herein, did then and there willfully and knowingly use and attempt to use a
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forged and/or counterfeit passport purported to be issued by the Republic of Ireland in the
name of Jobi Johnson, to open an account at Chase Bank, and the defendant knew said
passport was forged, counterfeit and otherwise procured unlawfully.

In violation of Title 18, United States Code, Sections 1543 and 2.

COUNT 3
(FALSE USE OF A PASSPORT - 18 U.S.C. §1543)

On or about March 28, 2016, in the Houston Division of the Southern District of
Texas,

BABAJIDE TOLULOPE BABATUNDE,

Defendant herein, did then and there willfully and knowingly use and attempt to use a
forged and/or counterfeit passport purported to be issued by the Republic of Ireland in the
name of Jobi Johnson, to open an account at Wells Fargo Bank, and the defendant knew
said passport was forged, counterfeit and otherwise procured unlawfully.

In violation of Title 18, United States Code, Sections 1543 and 2.

COUNT 4
(FALSE USE OF A PASSPORT - 18 U.S.C. §1543)

On or about May 23, 2016, in the Houston Division of the Southern District of

Texas,

BABAJIDE TOLULOPE BABATUNDE,

Defendant herein, did then and there willfully and knowingly use and attempt to use a
forged and/or counterfeit passport purported to be issued by the Republic of Guinea in the
name of Justin Abe, to open an account at Chase Bank, and the defendant knew said

passport was forged, counterfeit and otherwise procured unlawfully.
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In violation of Title 18, United States Code, Sections 1543 and 2.

COUNTS
(FALSE USE OF A PASSPORT - 18 U.S.C. §1543)

On or about October 26, 2016, in the Houston Division of the Southern District of

Texas,

BABAJIDE TOLULOPE BABATUNDE,

Defendant herein, did then and there willfully and knowingly use and attempt to use a
forged and/or counterfeit passport purported to be issued by the Federal Republic of
Nigeria in the name of Olukola Collins, to open an account at Capital One Bank, and the
defendant knew said passport was forged, counterfeit and otherwise procured unlawfully.

In violation of Title 18, United States Code, Sections 1543 and 2.

TRUE BILL: Jf
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Original signature on File

 

FOREPERSON OFTHE GRAND JURY /

RYAN K. PATRICK
United States Attorney

By: Qe [Sore

JAY HILEMAN:
Assistant United States Attorney

 
